Case: 4:17-cr-00131-DMB-JMV Doc #: 1-4 Filed: 11/03/17 1 of 1 PagelD #: 17

 

 

 

 

CRIMINAL CASE COVER SHEET U.S. DISTRICT COURT
Complete entire form

Place of Offense: Related Case Information:
City Cleveland Superseding:|_]Yes [V|No If yes, Case No.

. Same Defendant New Defendant
County Bolivar

REC E:IVE D Magistrate Judge Case Number
Nov 03 2017 Search Warrant Case Number

R20/R40 from District of
Related Criminal Case Number 4:17-CR-119-MPM

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF MISSISSIPF

 

 

Defendant Information:

Juvenile: [_lves [V|No If yes, Matter to be sealed: [ves [_|No

Defendant Name WENDELL BRANDON
Alias Name Omari Ibrahim El Bey

 

 

Address Memphis, TN

 

DOB 1984 SS# XXX-XX-2888 Sex M Rana Nationality
Represented by: Josh Bogen

U.S. Attorney Information: AUSA Clayton A. Dabbs Bar # 101537

Interpreter: [yes [V]|No List Language and/or dialect:

 

 

Location Status:

Pretrial Release [VlYes [_]No In Custody [yes [V No

Federal State Date of Arrest

 

Location

 

U.S.C. Citations

 

 

 

 

 

 

 

Total # of Counts 10 [Petty [_ [Misdemeanor [Y |Felony
Title & Section Description of Offense Charged Count(s)
Set | 18:1349.F ATTEMPT AND CONSPIRACY TO COMMIT FRAUD |
Set 2 18:1347.F HEALTH CARE FRAUD 1-10
Set 3
Set 4
Date: 11/2/2017 Signature of AUSA LAS
— <— +

District Court Case Number:

(To be entered by Clerk) He VIER 131

 
